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                                                                                FILED
                                                                         _ U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF TEXAS

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS                     MAR 1« ifuzi
                                  BEAUMONT DIVISION
                                                                         BY
                                                                         DEPUTY
 UNITED STATES OF AMERICA §

 v.                           §                            No. l:20cr79 (1)

 JONATHAN LIMERICK (1) §


                                     FACTUAL BASIS

       The government presents to the Court, by and through the undersigned Assistant

 United States Attorney in and for the Eastern District of Texas, joined by the defendant

 Jonathan Limbrick, and the defendant's attorney Bryan Owens, and presents this factual

 basis and stipulation in support of the defendant's plea of guilty to Count One of the

 Indictment and in support thereof, would show the following:

 1. That the defendant Jonathan Limbrick , hereby stipulates and agrees to the truth

        of all matters set forth in this factual basis and stipulation, and agrees that such

        admission may be used by the Court in support of his plea of guilty to Count One

        of the Indictment, alleging a violation of 21 U.S.C. § 846, Conspiracy to possess

        with intent to distribute a mixture or substance containing a detectable amount of

        methamphetamine.

 2. That the defendant, Jonathan Limbrick, who is pleading guilty to such

        Indictment, is one and the same person charged in the indictment.




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 3. That the events described in the Indictment occurred in the Eastern District of

        Texas.


 4. That had this matter proceeded to trial, the government, through the testimony of

        witnesses, including expert witnesses, and through admissible exhibits, would

        have proven, beyond a reasonable doubt, each and every essential element of the

        offense alleged in the Indictment; specifically, the government would have

        proven:

                 Beginning in 2018, the Drug and Enforcement Administration (DEA), the

        Bureau of Alcohol Tobacco, Firearms, and Explosives (ATF) and the Jasper

        Police Department (JPD) began an investigation into the Limbrick Drug

        Trafficking Organization (Limbrick DTO), operating out of Jasper, Texas, which

        is in the Eastern District of Texas.

                 On September 12, 2018, law enforcement officers utilized a confidential

        source to arrange the purchase of methamphetamine from Jonathan Limbrick

         Limbrick. The CS called Limbrick s phone and arranged the purchase of an

        ounce of methamphetamine. Jonathan Limbrick directed the CS to go to “Pokes,

        house, also known as Don Larkin “Larkin. The CS met with Larkin initially in

        his car located at his residence in Jasper, Texas, then they proceeded to Larkin s

        residence. Larkin removed two bags of a clear crystal substance believed to be

        methamphetamine from a WD-40 can with a false bottom. Limbrick arrived a

        short time later. The CS provided Larkin with approximately $500. Larkin then

        handed the money to Limbrick, who put it in his pocket and Limbrick gave the CS


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        the methamphetamine. The CS then provided the officers with the

        methamphetamine collected. The suspected methamphetamine was submitted to

        the DEA South Central Laboratory, and it determined the substance to be d-

        methamphetamine Hydrochloride with a 98 percent purity in the amount of 27.081

        grams.


                 On July 28, 2019, law enforcement officials utilized a CS to arrange the

        purchase of methamphetamine from Limbrick. Limbrick directed the CS to travel

        to the America s Best Value Inn, located in Jasper, Texas. After contacting

        Limbrick again, Limbrick directed the CS to travel to the Whataburger, on

        Wheeler Street in Jasper, Texas. After arriving at the Whataburger, Curtis

        Brumley (Brumley) approached and entered the CS s vehicle and informed the CS

        to drive to another location which Limbrick had instructed Brumley to drive too

        with the CS, which was also located in Jasper, Texas. Upon arrival a vehicle

        pulled up behind the CS s vehicle, and Cedrick Hunt (Hunt) exited the vehicle,

        approached the CS’s vehicle and placed a plastic bag on the CS’s floorboard that

        appeared to contain suspected methamphetamine. The CS provided Hunt with

        $500. The CS asked for change and Hunt and the CS exited the vehicle, walked

        toward the vehicle that Hunt had exited, and both spoke to Limbrick who was

        seated in Hunt’s passenger seat. Hunt was given $46 dollars in change by

        Limbrick to provide to the CS. The CS asked Limbrick for a scale, but Limbrick

        indicated the weight was good. The CS then provided officers with the suspected

        methamphetamine. The suspected methamphetamine was submitted to the DEA’s


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        South Central Laboratory for analysis. It determined the substance to be 27.31

        grams of d-methamphetamine Hydrochloride at a 99 percent purity.

               On September 5, 2019, a deputy with the Liberty County Sheriff s office

        noticed the driver of a red Toyota Corolla to not be wearing a seatbelt. As the

        deputy made contact with the occupants of the vehicle he immediately noticed the

        smell of burnt marijuana. The driver of the vehicle was identified as Limbrick,

        and the passenger as Rhonda Monschelle Felder (Felder). Limbrick admitted to

        smoking marijuana in the vehicle. As deputies were questioning the occupants

        they noticed a clear plastic bag bulging out of Felder s purse. Officers recovered

        her bag and noticed it contained roughly two hundred grams of a substance

        believed to be methamphetamine. In a post Miranda statement Limbrick admitted

        there were approximately six (6) ounces in the bag recovered from Felder s purse

        and that he (Limbrick) paid $1,800 for the methamphetamine. The suspected

        methamphetamine was submitted to the DEA’s South Central Laboratory and it

        determined the substance to me d-Methamphetamine Hydrochloride with a purity

        of 99 percent in the amount of 195.7 grams.

               Johnathan Limbrick admits that he agreed with two or more persons,

        directly or indirectly to possess with the intent to distribute methamphetamine;

        knowing that the agreement to possess with the intent to distribute

        methamphetamine was unlawful; and that he joined the agreement willfully,

        intending to further the possession with intent to distribute methamphetamine.

        That the defendant knew or reasonably should have known the scope of the


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         conspiracy involved at least two hundred and fifty (250) grams of

         methamphetamine.




                DEFENDANT'S SIGNATURE AND ACKNOWLEDGMENT

 5. I have read this factual basis and stipulation and the Indictment or have had them

         read to me and have discussed them with my attorney. I fully understand the

         contents of this factual basis and stipulation and agree without reservation that it

         accurately describes the events and my acts.



 Dated
                                              onathan Limbrick
                                             Defendant



           DEFENSE COUNSEL'S SIGNATURE AND ACKNOWLEDGMENT

 6. I have read this factual basis and stipulation and the Indictment and have reviewed

         them with my client, Jonathan Limbrick. Based upon my discussions with the

         defendant, I am satisfied that the defendant understands the factual basis and

         stipulation as well as the Indictment and is knowingly and voluntarily agreeing to

         these stipulated facts.




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                                    Respectfully submitted,


                                    NICHOLAS GANJEI
                                    ACTING UNITED STATES ATTORNEY


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